                   Caseto identify
 Fill in this information 3-19-11239-cjf
                                   your case:           Doc 1             Filed 04/18/19 Entered 04/18/19 12:23:46                                     Desc Main
                                                                          Document     Page 1 of 63
 United States Bankruptcy Court for the:

              Western District of Wisconsin

 Case number (If known):                         Chapter you are filing under:
                                                 ✔
                                                 ❑         Chapter 7
                                                 ❑         Chapter 11
                                                 ❑         Chapter 12
                                                 ❑         Chapter 13                                                                           ❑Check if this is an
                                                                                                                                                     amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and in joint
cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if either debtor owns
a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the
spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name

       Write the name that is on your         Jakob                                                             Rachel
       government-issued picture              First name                                                       First name
       identification (for example, your      Lewis                                                             Rae
       driver’s license or passport).         Middle name                                                      Middle name

       Bring your picture identification to    Wheeler                                                           Wheeler
       your meeting with the trustee.         Last name                                                        Last name


                                              Suffix (Sr., Jr, II, III)                                         Suffix (Sr., Jr, II, III)




  2.   All other names you have used
       in the last 8 years
                                              First name                                                       First name
       Include your married or maiden
       names.                                 Middle name                                                      Middle name


                                              Last name                                                        Last name




                                              First name                                                       First name


                                              Middle name                                                      Middle name


                                              Last name                                                        Last name




  3.   Only the last 4 digits of your
                                              xxx - xx - 8        5       3   3                                xxx - xx - 9         2       6    2
       Social Security number or
       federal Individual Taxpayer            OR                                                               OR
       Identification number                  9xx - xx -                                                       9xx - xx -
       (ITIN)




Official Form 101                                              Voluntary Petition for Individuals Filing for Bankruptcy                                                page 1
 Debtor 1       Case  3-19-11239-cjf
                   Jakob        Lewis Doc 1                       Filed 04/18/19 Entered 04/18/19 12:23:46 Desc Main
                                                                   Wheeler
 Debtor 2            Rachel              Rae                      Document
                                                                   Wheeler     Page 2 of 63    Case number (if known)
                     First Name          Middle Name                  Last Name




                                         About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):


  4.   Any business names and
       Employer Identification            ✔I have not used any business names or EINs.
                                          ❑                                                                   ✔I have not used any business names or EINs.
                                                                                                              ❑
       Numbers (EIN) you have used
       in the last 8 years

       Include trade names and doing      Business name                                                       Business name
       business as names

                                          Business name                                                       Business name


                                                       -                                                                   -
                                          EIN                                                                 EIN


                                                       -                                                                   -
                                          EIN                                                                 EIN




                                                                                                              If Debtor 2 lives at a different address:
  5.   Where you live
                                          2454 Lalor Road                                                     991 US Hwy 14
                                          Number             Street                                           Number            Street




                                          Oregon, WI 53575                                                    Oregon, WI 53575
                                          City                                     State     ZIP Code         City                                     State     ZIP Code

                                          Dane                                                                Dane
                                          County                                                              County

                                          If your mailing address is different from the one above, fill If Debtor 2's mailing address is different from the one
                                          it in here. Note that the court will send any notices to you at above, fill it in here. Note that the court will send any notices
                                          this mailing address.                                           to you at this mailing address.


                                          Number             Street                                           Number            Street



                                          P.O. Box                                                            P.O. Box



                                          City                                     State     ZIP Code         City                                     State     ZIP Code




  6.   Why you are choosing this          Check one:                                                          Check one:
       district to file for bankruptcy
                                          ✔
                                          ❑      Over the last 180 days before filing this petition, I have   ✔
                                                                                                              ❑      Over the last 180 days before filing this petition, I have
                                                 lived in this district longer than in any other district.           lived in this district longer than in any other district.

                                          ❑      I have another reason. Explain.                              ❑      I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                              (See 28 U.S.C. § 1408)




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                          page 2
 Debtor 1      Case  3-19-11239-cjf
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                                                                  Wheeler
 Debtor 2            Rachel              Rae                     Document
                                                                  Wheeler     Page 3 of 63    Case number (if known)
                    First Name           Middle Name                   Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


                                         Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
  7.   The chapter of the Bankruptcy     (Form B2010)). Also, go to the top of page 1 and check the appropriate box.
       Code you are choosing to file
       under
                                         ✔
                                         ❑       Chapter 7
                                         ❑       Chapter 11
                                         ❑       Chapter 12
                                         ❑       Chapter 13




  8.   How you will pay the fee          ✔
                                         ❑     I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                               about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                               order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                               a pre-printed address.

                                         ❑     I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                               Your Filing Fee in Installments (Official Form 103A).

                                         ❑     I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                               but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                               that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                               out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.




                                         ✔ No.
                                         ❑
  9.   Have you filed for bankruptcy
       within the last 8 years?          ❑Yes.       District                                          When                          Case number
                                                                                                              MM / DD / YYYY

                                                     District                                          When                          Case number
                                                                                                              MM / DD / YYYY

                                                     District                                          When                          Case number
                                                                                                              MM / DD / YYYY



                                         ✔ No.
                                         ❑
  10. Are any bankruptcy cases
       pending or being filed by a       ❑Yes.       Debtor                                                                       Relationship to you
       spouse who is not filing this
       case with you, or by a business               District                                      When                           Case number, if known
       partner, or by an affiliate?                                                                       MM / DD / YYYY


                                                     Debtor                                                                       Relationship to you

                                                     District                                      When                           Case number, if known
                                                                                                          MM / DD / YYYY




                                         ❑     No.    Go to line 12.
  11. Do you rent your residence?
                                         ✔
                                         ❑     Yes. Has your landlord obtained an eviction judgment against you?

                                                      ✔
                                                      ❑   No. Go to line 12.

                                                      ❑   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part
                                                          of this bankruptcy petition.




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                             page 3
 Debtor 1       Case  3-19-11239-cjf
                   Jakob        Lewis Doc 1                             Filed 04/18/19 Entered 04/18/19 12:23:46 Desc Main
                                                                         Wheeler
 Debtor 2             Rachel                  Rae                       Document
                                                                         Wheeler     Page 4 of 63    Case number (if known)
                      First Name              Middle Name                 Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor

                                              ✔
                                              ❑     No. Go to Part 4.
  12. Are you a sole proprietor of any
      full- or part-time business?            ❑     Yes. Name and location of business

      A sole proprietorship is a business
      you operate as an individual, and is          Name of business, if any
      not a separate legal entity such as
      a corporation, partnership, or LLC.
                                                    Number           Street
      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this petition.

                                                    City                                                       State        ZIP Code

                                                    Check the appropriate box to describe your business:

                                                    ❑      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                    ❑      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                    ❑      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                    ❑      Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                    ❑      None of the above




                                     If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
  13. Are you filing under Chapter 11deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      of the Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in
      you a small business debtor?   11 U.S.C. § 1116(1)(B).
      For a definition of small business      ✔
                                              ❑     No.        I am not filing under Chapter 11.
      debtor, see 11 U.S.C. § 101(51D).
                                              ❑     No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                               Bankruptcy Code.

                                              ❑     Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy
                                                               Code.


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

                                              ✔
                                              ❑     No.
  14. Do you own or have any
      property that poses or is               ❑     Yes.     What is the hazard?
      alleged to pose a threat of
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate                          If immediate attention is needed, why is it needed?
      attention?

      For example, do you own
      perishable goods, or livestock that
      must be fed, or a building that                        Where is the property?
      needs urgent repairs?
                                                                                      Number          Street




                                                                                        City                                               State               ZIP Code




Official Form 101                                               Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 4
 Debtor 1       Case  3-19-11239-cjf
                   Jakob        Lewis Doc 1                        Filed 04/18/19 Entered 04/18/19 12:23:46 Desc Main
                                                                    Wheeler
 Debtor 2            Rachel               Rae                      Document
                                                                    Wheeler     Page 5 of 63    Case number (if known)
                     First Name            Middle Name                 Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you          About Debtor 1:                                                        About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you           You must check one:                                                    You must check one:
                                          ✔                                                                      ✔
      receive a briefing about credit
      counseling before you file for      ❑     I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully           agency within the 180 before I filed this bankruptcy petition,        agency within the 180 before I filed this bankruptcy petition,
      check one of the following                and I received a certificate of completion.                           and I received a certificate of completion.
      choices. If you cannot do so, you         Attach a copy of the certificate and the payment plan, if             Attach a copy of the certificate and the payment plan, if
      are not eligible to file.                 any, that you developed with the agency.                              any, that you developed with the agency.

      If you file anyway, the court can   ❑     I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      dismiss your case, you will lose          agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      whatever filing fee you paid, and         petition, but I do not have a certificate of completion.              petition, but I do not have a certificate of completion.
      your creditors can begin                 Within 14 days after you file this bankruptcy petition, you            Within 14 days after you file this bankruptcy petition, you
      collection activities again.             MUST file a copy of the certificate and payment plan, if               MUST file a copy of the certificate and payment plan, if
                                               any.                                                                   any.

                                          ❑     I certify that I asked for credit counseling services from an    ❑    I certify that I asked for credit counseling services from an
                                                approved agency, but was unable to obtain those services              approved agency, but was unable to obtain those services
                                                during the 7 days after I made my request, and exigent                during the 7 days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver of the                  circumstances merit a 30-day temporary waiver of the
                                                requirement.                                                          requirement.
                                                To ask for a 30-day temporary waiver of the requirement,              To ask for a 30-day temporary waiver of the requirement,
                                                attach a separate sheet explaining what efforts you made              attach a separate sheet explaining what efforts you made
                                                to obtain the briefing, why you were unable to obtain it              to obtain the briefing, why you were unable to obtain it
                                                before you filed for bankruptcy, and what exigent                     before you filed for bankruptcy, and what exigent
                                                circumstances required you to file this case.                         circumstances required you to file this case.

                                                Your case may be dismissed if the court is dissatisfied               Your case may be dismissed if the court is dissatisfied
                                                with your reasons for not receiving a briefing before you             with your reasons for not receiving a briefing before you
                                                filed for bankruptcy.                                                 filed for bankruptcy.

                                                If the court is satisfied with your reasons, you must still           If the court is satisfied with your reasons, you must still
                                                receive a briefing within 30 days after you file.                     receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved agency,                 You must file a certificate from the approved agency,
                                                along with a copy of the payment plan you developed, if               along with a copy of the payment plan you developed, if
                                                any. If you do not do so, your case may be dismissed.                 any. If you do not do so, your case may be dismissed.

                                                Any extension of the 30-day deadline is granted only for              Any extension of the 30-day deadline is granted only for
                                                cause and is limited to a maximum of 15 days.                         cause and is limited to a maximum of 15 days.

                                          ❑     I am not required to receive a briefing about credit             ❑    I am not required to receive a briefing about credit
                                                counseling because of:                                                counseling because of:
                                                ❑    Incapacity. I have a mental illness or a mental                  ❑    Incapacity. I have a mental illness or a mental
                                                                 deficiency that makes me incapable                                    deficiency that makes me incapable
                                                                 of realizing or making rational                                       of realizing or making rational
                                                                 decisions about finances.                                             decisions about finances.
                                                ❑    Disability.   My physical disability causes me to                ❑    Disability.   My physical disability causes me to
                                                                   be unable to participate in a briefing                                be unable to participate in a briefing
                                                                   in person, by phone, or through the                                   in person, by phone, or through the
                                                                   internet, even after I reasonably tried                               internet, even after I reasonably tried
                                                                   to do so.                                                             to do so.
                                                ❑    Active duty. I am currently on active military duty in           ❑    Active duty. I am currently on active military duty in
                                                                  a military combat zone.                                               a military combat zone.

                                                If you believe you are not required to receive a briefing             If you believe you are not required to receive a briefing
                                                about credit counseling, you must file a motion for waiver            about credit counseling, you must file a motion for waiver
                                                of credit counseling with the court.                                  of credit counseling with the court.




Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                                               page 5
 Debtor 1      Case  3-19-11239-cjf
                  Jakob        Lewis Doc 1                         Filed 04/18/19 Entered 04/18/19 12:23:46 Desc Main
                                                                    Wheeler
 Debtor 2            Rachel                 Rae                    Document
                                                                    Wheeler     Page 6 of 63    Case number (if known)
                     First Name             Middle Name                Last Name


 Part 6: Answer These Questions for Reporting Purposes


                                            16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
  16. What kind of debts do you                  an individual primarily for a personal, family, or household purpose.”
      have?
                                                   ❑    No. Go to line 16b.

                                                   ✔
                                                   ❑    Yes. Go to line 17.

                                            16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money for a
                                                 business or investment or through the operation of the business or investment.

                                                   ❑    No. Go to line 16c.

                                                   ❑    Yes. Go to line 17.

                                            16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?       ❑      No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any        ✔
                                            ❑      Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
      exempt property is excluded                       expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses
      are paid that funds will be                          ❑     No
      available for distribution to
      unsecured creditors?                                 ❑     Yes

                                             ✔
                                             ❑     1-49 ❑ 50-99                     ❑    1,000-5,000 ❑ 5,001-10,000              ❑     25,001-50,000 ❑ 50,000-100,000
  18. How many creditors do you              ❑     100-199 ❑ 200-999                ❑    10,001-25,000                           ❑     More than 100,000
      estimate that you owe?

                                             ❑     $0-$50,000                        ❑     $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
  19. How much do you estimate               ❑     $50,001-$100,000                  ❑     $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
      your assets to be worth?
                                             ✔
                                             ❑     $100,001-$500,000                 ❑     $50,000,001-$100 million                  ❑    $10,000,000,001-$50 billion
                                             ❑     $500,001-$1 million               ❑     $100,000,001-$500 million                 ❑    More than $50 billion

                                             ❑     $0-$50,000                        ❑     $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
  20. How much do you estimate               ❑     $50,001-$100,000                  ❑     $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
      your liabilities to be?
                                             ✔
                                             ❑     $100,001-$500,000                 ❑     $50,000,001-$100 million                  ❑    $10,000,000,001-$50 billion
                                             ❑     $500,001-$1 million               ❑     $100,000,001-$500 million                 ❑    More than $50 billion

 Part 7: Sign Below


  For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United States
                                  Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I have
                                  obtained and read the notice required by 11 U.S.C. § 342(b).
                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
                                  can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                    ✘ /s/ Jakob Lewis Wheeler                                                ✘ /s/ Rachel Rae Wheeler
                                         Jakob Lewis Wheeler, Debtor 1                                            Rachel Rae Wheeler, Debtor 2
                                         Executed on 04/15/2019                                                   Executed on 04/15/2019
                                                         MM/ DD/ YYYY                                                             MM/ DD/ YYYY




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                          page 6
 Debtor 1      Case  3-19-11239-cjf
                  Jakob        Lewis Doc 1                       Filed 04/18/19 Entered 04/18/19 12:23:46 Desc Main
                                                                  Wheeler
 Debtor 2            Rachel                 Rae                  Document
                                                                  Wheeler     Page 7 of 63    Case number (if known)
                     First Name             Middle Name             Last Name



   For your attorney, if you are             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
   represented by one                        under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for
                                             which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and,
   If you are not represented by an          in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules
   attorney, you do not need to file this    filed with the petition is incorrect.
   page.

                                              ✘ /s/ Angela R Bakke                                                    Date 04/15/2019
                                                  Angela R Bakke, Attorney                                                   MM / DD / YYYY




                                                  Angela R Bakke
                                                  Printed name

                                                  Affordable Legal Services
                                                  Firm name

                                                  385 EAST MAIN ST
                                                  Number     Street



                                                  Sun Prairie                                                         WI      53590
                                                  City                                                               State    ZIP Code



                                                  Contact phone (608) 834-1355                                    Email address angela@bakkelawllc.com


                                                  1079838                                                             WI
                                                  Bar number                                                         State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 7
                    Case 3-19-11239-cjf
 Fill in this information to identify your case:
                                                                      Doc 1             Filed 04/18/19 Entered 04/18/19 12:23:46                                                           Desc Main
                                                                                        Document     Page 8 of 63
  Debtor 1                         Jakob                          Lewis                      Wheeler
                                  First Name                    Middle Name                 Last Name

  Debtor 2                         Rachel                         Rae                        Wheeler
  (Spouse, if filing)             First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                         Western District of Wisconsin

  Case number                                                                                                                                                                       ❑      Check if this is an
  (if known)                                                                                                                                                                               amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                            Your assets
                                                                                                                                                                                            Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                       $117,700.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                               $27,594.03


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                      $145,294.03



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                            Your liabilities
                                                                                                                                                                                            Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                               $113,541.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                 $2,276.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                       +                 $31,731.78


                                                                                                                                                                  Your total liabilities                    $147,548.78

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                       $3,456.63


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                     $3,272.00




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
 Debtor 1       Case  3-19-11239-cjf
                   Jakob        Lewis Doc 1                        Filed 04/18/19 Entered 04/18/19 12:23:46 Desc Main
                                                                    Wheeler
 Debtor 2             Rachel                 Rae                   Document
                                                                    Wheeler     Page 9 of 63    Case number (if known)
                      First Name             Middle Name               Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑    Yes



7. What kind of debt do you have?
   ✔
   ❑    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                           $5,211.05




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

       From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                                      $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                         $2,276.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                   $0.00



    9d. Student loans. (Copy line 6f.)                                                                                                    $0.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                                   $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         +                     $0.00



    9g. Total. Add lines 9a through 9f.                                                                                              $2,276.00




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
                     Case 3-19-11239-cjf
 Fill in this information to identify your case and this filing:
                                                                      Doc 1            Filed 04/18/19 Entered 04/18/19 12:23:46                                                        Desc Main
                                                                                      Document      Page 10 of 63
  Debtor 1                          Jakob                        Lewis                      Wheeler
                                   First Name                   Middle Name                Last Name

  Debtor 2                          Rachel                       Rae                        Wheeler
  (Spouse, if filing)              First Name                   Middle Name                Last Name

  United States Bankruptcy Court for the:                                        Western District of Wisconsin
                                                                                                                                                                                   ❑   Check if this is an
  Case number                                                                                                                                                                          amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ❑ No. Go to Part 2.
      ✔ Yes. Where is the property?
      ❑
      1.1     991 Hwy 14                                                      What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
              description
                                                                             ✔ Single-family home
                                                                             ❑                                                                             amount of any secured claims on Schedule D:
                                                                             ❑ Duplex or multi-unit building                                               Creditors Who Have Claims Secured by Property.
                                                                             ❑ Condominium or cooperative                                                Current value of the            Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                portion you own?
              Oregon, WI 53575                                               ❑ Land                                                                                  $117,700.00                    $117,700.00
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
               Dane
              County
                                                                             ❑ Other                                                                     estate), if known.
                                                                              Who has an interest in the property? Check one.
                                                                             ✔ Debtor 1 only
                                                                                                                                                           Fee Simple
                                                                             ❑
                                                                             ❑ Debtor 2 only
                                                                             ❑ Debtor 1 and Debtor 2 only                                                 ✔ Check if this is community property
                                                                                                                                                          ❑
                                                                             ❑ At least one of the debtors and another
                                                                                                                                                              (see instructions)

                                                                             Source of Value:
                                                                             Tax assessment
 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜            $117,700.00




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                         page 1
 Debtor 1           Case  3-19-11239-cjf
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                                                                      Wheeler
 Debtor 2              Rachel                  Rae                  Document
                                                                      Wheeler     Page 11 of 63   Case number (if known)
                       First Name              Middle Name              Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
     ❑ No
     ✔ Yes
     ❑
     3.1 Make:                          Chevrolet            Who has an interest in the property? Check one.       Do not deduct secured claims or exemptions. Put the
                                        Bel Air              ❑ Debtor 1 only                                       amount of any secured claims on Schedule D:
            Model:
                                                             ❑ Debtor 2 only                                       Creditors Who Have Claims Secured by Property.
                                        1955                 ✔ Debtor 1 and Debtor 2 only
                                                             ❑                                                    Current value of the       Current value of the
                                                             ❑ At least one of the debtors and another
            Year:
                                                                                                                  entire property?           portion you own?
            Approximate mileage:                                                                                                $1,000.00                 $1,000.00
            Other information:
                                                             ✔ Check if this is community property (see
                                                             ❑
                                                                instructions)




    If you own or have more than one, list here:

     3.2 Make:                          Toyota               Who has an interest in the property? Check one.       Do not deduct secured claims or exemptions. Put the
                                        Camry                ❑ Debtor 1 only                                       amount of any secured claims on Schedule D:
            Model:
                                                             ❑ Debtor 2 only                                       Creditors Who Have Claims Secured by Property.
                                        2008                 ✔ Debtor 1 and Debtor 2 only
                                                             ❑                                                    Current value of the       Current value of the
                                                             ❑ At least one of the debtors and another
            Year:
                                        112,000                                                                   entire property?           portion you own?
            Approximate mileage:                                                                                                $5,465.00                 $5,465.00
            Other information:
                                                             ✔ Check if this is community property (see
                                                             ❑
                                                                instructions)




     3.3 Make:                          Toyota               Who has an interest in the property? Check one.       Do not deduct secured claims or exemptions. Put the
                                        Corolla              ❑ Debtor 1 only                                       amount of any secured claims on Schedule D:
            Model:
                                                             ❑ Debtor 2 only                                       Creditors Who Have Claims Secured by Property.
                                        2003                 ✔ Debtor 1 and Debtor 2 only
                                                             ❑                                                    Current value of the       Current value of the
                                                             ❑ At least one of the debtors and another
            Year:
                                                                                                                  entire property?           portion you own?
            Approximate mileage:                                                                                                unknown                   unknown
            Other information:
                                                             ✔ Check if this is community property (see
                                                             ❑
                                                                instructions)




Official Form 106A/B                                                             Schedule A/B: Property                                                   page 2
 Debtor 1           Case  3-19-11239-cjf
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 Debtor 2                  Rachel                        Rae                         Document
                                                                                       Wheeler     Page 12 of 63   Case number (if known)
                           First Name                    Middle Name                       Last Name



      3.4 Make:                                   Ford                      Who has an interest in the property? Check one.                                Do not deduct secured claims or exemptions. Put the
                                                  F150                     ❑ Debtor 1 only                                                                 amount of any secured claims on Schedule D:
            Model:
                                                                           ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                  1998                     ✔ Debtor 1 and Debtor 2 only
                                                                           ❑                                                                              Current value of the       Current value of the
                                                                           ❑ At least one of the debtors and another
            Year:
                                                                                                                                                          entire property?           portion you own?
            Approximate mileage:                                                                                                                                          $870.00                   $870.00
            Other information:
                                                                           ✔ Check if this is community property (see
                                                                           ❑
                                                                                instructions)




      3.5 Make:                                   Kia                       Who has an interest in the property? Check one.                                Do not deduct secured claims or exemptions. Put the
                                                  Forte                    ❑ Debtor 1 only                                                                 amount of any secured claims on Schedule D:
            Model:
                                                                           ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                  2015                     ✔ Debtor 1 and Debtor 2 only
                                                                           ❑                                                                              Current value of the       Current value of the
                                                                           ❑ At least one of the debtors and another
            Year:
                                                  65,000                                                                                                  entire property?           portion you own?
            Approximate mileage:                                                                                                                                        $8,826.00                 $8,826.00
            Other information:
                                                                           ✔ Check if this is community property (see
                                                                           ❑
                                                                                instructions)




 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔ No
       ❑
       ❑ Yes


 5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
      you have attached for Part 2. Write that number here.........................................................................................................                 ➜            $16,161.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                                  Current value of the
                                                                                                                                                                                     portion you own?
                                                                                                                                                                                     Do not deduct secured
                                                                                                                                                                                     claims or exemptions.

 6.   Household goods and furnishings
      Examples:       Major appliances, furniture, linens, china, kitchenware

      ❑ No
      ✔ Yes. Describe........
      ❑
                                              See Attached.
                                                                                                                                                                                                    $1,615.00


 7. Electronics
      Examples:       Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                      electronic devices including cell phones, cameras, media players, games
      ✔ No
      ❑
      ❑ Yes. Describe........




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                    page 3
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 8.    Collectibles of value
       Examples:        Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                        stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                 Coin collection                                                                                                                                     $500.00



 9. Equipment for sports and hobbies
       Examples:        Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                        carpentry tools; musical instruments

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                 Golf clubs                                                                                                                                          $100.00



 10.    Firearms
        Examples:         Pistols, rifles, shotguns, ammunition, and related equipment
        ✔ No
        ❑
        ❑ Yes. Describe........

 11.    Clothes
        Examples:         Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                 Children's $500 Debtor's $300 Joint Debtor's $300                                                                                                 $1,100.00



 12.    Jewelry
        Examples:         Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                 Costume jewelry $100 Engagement ring $3,000
                                                                                                                                                                                                   $3,100.00



 13.    Non-farm animals
        Examples:         Dogs, cats, birds, horses
        ✔ No
        ❑
        ❑ Yes. Describe........

 14.    Any other personal and household items you did not already list, including any health aids you did not list

        ✔ No
        ❑
        ❑ Yes. Describe........

 15.    Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
        for Part 3. Write that number here........................................................................................................................................➜               $6,415.00




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                         Current value of the
                                                                                                                                                                                      portion you own?
                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                      claims or exemptions.




Official Form 106A/B                                                                                        Schedule A/B: Property                                                                page 4
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 16.   Cash
       Examples:          Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       ❑ No
       ✔ Yes........................................................................................................................................................ Cash..............
       ❑                                                                                                                                                                                                 $37.63



 17.   Deposits of money
       Examples:          Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                          similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                     Institution name:



 17.1. Savings account:                               Summit Credit Union                                                                                                                    $5.84


 17.2. Checking account:                              US Bank                                                                                                                              $114.30


 17.3. Savings account:                               Summit Credit Union                                                                                                                    $5.00


 17.4. Checking account:                              UW Credit Union                                                                                                                      $404.24


 17.5. Savings account:                               UW Credit Union                                                                                                                        $5.00


 17.6. Checking account:                              Summit Credit Union                                                                                                                   $16.17

 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:          Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 21.   Retirement or pension accounts
       Examples:          Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ❑ No
       ✔ Yes. List each account
       ❑
            separately.
 Type of account:                      Institution name:

 401(k) or similar plan:                Principal/Russ Darrow Group, Inc.                                                                                                                 $4,428.85


Official Form 106A/B                                                                                                Schedule A/B: Property                                                            page 5
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 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................
 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....

 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:       Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....

 27.   Licenses, franchises, and other general intangibles
       Examples:       Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                       professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....

Money or property owed to you?                                                                                                               Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.


 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes.      Give specific information about
                   them, including whether you
                   already filed the returns and the
                   tax years.......................

 29.   Family support
       Examples:       Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes.      Give specific information..........




Official Form 106A/B                                                              Schedule A/B: Property                                                page 6
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 30.   Other amounts someone owes you
       Examples:         Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                         Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.       Give specific information..........


 31.   Interests in insurance policies
       Examples:         Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ❑ No
       ✔ Yes.
       ❑            Name the insurance company
                                                                           Company name:                                                            Beneficiary:               Surrender or refund value:
                    of each policy and list its value....
                                                                           American Family Insurance                                                Lydia Wheeler                                      $1.00


 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.       Give specific information..........


 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:         Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.       Describe each claim................


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.       Describe each claim................


 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.       Give specific information..........


 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜                  $5,018.03



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ✔No. Go to Part 6.
       ❑
       ❑Yes. Go to line 38.
                                                                                                                                                                                 Current value of the
                                                                                                                                                                                 portion you own?
                                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                                 claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe........
 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices



Official Form 106A/B                                                                                       Schedule A/B: Property                                                             page 7
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       ✔ No
       ❑
       ❑ Yes. Describe........
 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe........
 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe........
 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe........
 43.   Customer lists, mailing lists, or other compilations
       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.........

 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜                   $0.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
                                                                                                                                                                              Current value of the
                                                                                                                                                                              portion you own?
                                                                                                                                                                              Do not deduct secured
                                                                                                                                                                              claims or exemptions.

 47.   Farm animals
       Examples:         Livestock, poultry, farm-raised fish
       ✔ No
       ❑
       ❑ Yes.........................
 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............

 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes..........................
 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes..........................

Official Form 106A/B                                                                                       Schedule A/B: Property                                                        page 8
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 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............

 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜                     $0.00



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............

 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                      $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜         $117,700.00


 56.   Part 2: Total vehicles, line 5                                                                                        $16,161.00


 57.   Part 3: Total personal and household items, line 15                                                                     $6,415.00


 58.   Part 4: Total financial assets, line 36                                                                                 $5,018.03


 59.   Part 5: Total business-related property, line 45                                                                              $0.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                                     $0.00


 61.   Part 7: Total other property not listed, line 54                                                +                             $0.00


 62.   Total personal property. Add lines 56 through 61..............                                                        $27,594.03             Copy personal property total➜     +   $27,594.03




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                        $145,294.03




Official Form 106A/B                                                                                            Schedule A/B: Property                                                        page 9
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                       First Name       Middle Name          Last Name



                                                      SCHEDULE A/B: PROPERTY
                                                               Continuation Page

 6.   Household goods and furnishings
      Joint Debtor's Household: Couch $25 Love seat $25 Coffee table $50 Piano $100 Kids' toys $50 Guitar $50 Stove                      $1,095.00
      $100 Refrigerator $50 Microwave $5 Toaster $5 Coffee maker $5 Pots, dishes, etc. $50 Kitchen table & chairs $25
      Full size bed $100 Crib $50 Dresser $20 Vanity $10 2d full size bed $100 Twin loft bed $50 Chest $25 Washer &
      dryer $100 Lawn mower $50 Craft supplies $50
      Debtor's Household: Bed $100 Dresser $50 TV $50                                                                                     $200.00
      Storage unit contents: Queen mattress $50 Sewing desk $100 Kitchen table $50 End tables $20 Misc. decor $100                        $320.00

 17. Deposits of money
      Checking account:              Summit Credit Union                                                                                   $16.17
      Savings account:               UW Credit Union                                                                                        $5.00




Official Form 106A/B                                                   Schedule A/B: Property
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 Fill in this information to identify your case:

  Debtor 1                    Jakob                Lewis                Wheeler
                              First Name           Middle Name         Last Name

  Debtor 2                    Rachel               Rae                  Wheeler
  (Spouse, if filing)         First Name           Middle Name         Last Name

  United States Bankruptcy Court for the:                        Western District of Wisconsin

  Case number                                                                                                                          ❑   Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ❑ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
      ❑
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from         Check only one box for each exemption.
                                                             Schedule A/B

                                                                                         ✔
 Brief description:
 991 Hwy 14 Oregon, WI 53575                                              $117,700.00
                                                                                         ❑                 $11,696.00             11 U.S.C. § 522(d)(1)
                                                                                         ❑    100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          1.1


                                                                                         ✔
 Brief description:
 1955 Chevrolet Bel Air                                                     $1,000.00
                                                                                         ❑                 $1,000.00              11 U.S.C. § 522(d)(5)
                                                                                         ❑    100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          3.1


 3.   Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                    page 1 of 4
 Debtor 1        Case  3-19-11239-cjf
                    Jakob        Lewis Doc 1                    Filed 04/18/19 Entered 04/18/19 12:23:46 Desc Main
                                                                 Wheeler
 Debtor 2             Rachel              Rae                  Document
                                                                 Wheeler     Page 21 of 63   Case number (if known)
                      First Name           Middle Name             Last Name


 Part 2: Additional Page

 Brief description of the property and line on            Current value of the     Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                    portion you own
                                                          Copy the value from      Check only one box for each exemption.
                                                          Schedule A/B

                                                                                   ✔
 Brief description:
 2008 Toyota Camry                                                     $5,465.00
                                                                                   ❑                $3,775.00               11 U.S.C. § 522(d)(2)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:         3.2
                                                                                   ✔
                                                                                   ❑                $1,690.00               11 U.S.C. § 522(d)(5)
                                                                                   ❑   100% of fair market value, up to
                                                                                       any applicable statutory limit

 Brief description:
 2003 Toyota Corolla                                                     unknown

 Line from
 Schedule A/B:         3.3


                                                                                   ✔
 Brief description:
 1998 Ford F150                                                          $870.00
                                                                                   ❑                 $870.00                11 U.S.C. § 522(d)(5)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:         3.4


                                                                                   ✔
 Brief description:
 2015 Kia Forte                                                        $8,826.00
                                                                                   ❑                $1,289.00               11 U.S.C. § 522(d)(2)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:         3.5


                                                                                   ✔
 Brief description:
 Joint Debtor's Household: Couch $25 Love seat $25                     $1,095.00
                                                                                   ❑                $1,095.00               11 U.S.C. § 522(d)(3)

 Coffee table $50 Piano $100 Kids' toys $50 Guitar $50                             ❑   100% of fair market value, up to
 Stove $100 Refrigerator $50 Microwave $5 Toaster $5                                   any applicable statutory limit
 Coffee maker $5 Pots, dishes, etc. $50 Kitchen table &
 chairs $25 Full size bed $100 Crib $50 Dresser $20
 Vanity $10 2d full size bed $100 Twin loft bed $50
 Chest $25 Washer & dryer $100 Lawn mower $50
 Craft supplies $50

 Line from
 Schedule A/B:         6


                                                                                   ✔
 Brief description:
 Debtor's Household: Bed $100 Dresser $50 TV $50                         $200.00
                                                                                   ❑                 $200.00                11 U.S.C. § 522(d)(3)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:         6


                                                                                   ✔
 Brief description:
 Storage unit contents: Queen mattress $50 Sewing                        $320.00
                                                                                   ❑                 $320.00                11 U.S.C. § 522(d)(3)

 desk $100 Kitchen table $50 End tables $20 Misc.                                  ❑   100% of fair market value, up to
 decor $100                                                                            any applicable statutory limit

 Line from
 Schedule A/B:         6




Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                page 2 of 4
 Debtor 1        Case  3-19-11239-cjf
                    Jakob        Lewis Doc 1                  Filed 04/18/19 Entered 04/18/19 12:23:46 Desc Main
                                                               Wheeler
 Debtor 2             Rachel              Rae                Document
                                                               Wheeler     Page 22 of 63   Case number (if known)
                      First Name          Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the      Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from       Check only one box for each exemption.
                                                        Schedule A/B

                                                                                  ✔
 Brief description:
 Coin collection                                                       $500.00
                                                                                  ❑                 $500.00                11 U.S.C. § 522(d)(5)
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:         8


                                                                                  ✔
 Brief description:
 Golf clubs                                                            $100.00
                                                                                  ❑                 $100.00                11 U.S.C. § 522(d)(3)
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:         9


                                                                                  ✔
 Brief description:
 Children's $500 Debtor's $300 Joint Debtor's $300                   $1,100.00
                                                                                  ❑                $1,100.00               11 U.S.C. § 522(d)(3)
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:        11


                                                                                  ✔
 Brief description:
 Costume jewelry $100 Engagement ring $3,000                         $3,100.00
                                                                                  ❑                $3,100.00               11 U.S.C. § 522(d)(4)
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:        12


                                                                                  ✔
 Brief description:
 Cash                                                                   $37.63
                                                                                  ❑                 $37.63                 11 U.S.C. § 522(d)(5)
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:        16


                                                                                  ✔
 Brief description:
 Summit Credit Union                                                    $16.17
                                                                                  ❑                 $16.17                 11 U.S.C. § 522(d)(5)

 Checking account                                                                 ❑   100% of fair market value, up to
                                                                                      any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                                  ✔
 Brief description:
 Summit Credit Union                                                      $5.00
                                                                                  ❑                  $5.00                 11 U.S.C. § 522(d)(5)

 Savings account                                                                  ❑   100% of fair market value, up to
                                                                                      any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                                  ✔
 Brief description:
 UW Credit Union                                                       $404.24
                                                                                  ❑                 $404.24                11 U.S.C. § 522(d)(5)

 Checking account                                                                 ❑   100% of fair market value, up to
                                                                                      any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                                  ✔
 Brief description:
 UW Credit Union                                                          $5.00
                                                                                  ❑                  $5.00                 11 U.S.C. § 522(d)(5)

 Savings account                                                                  ❑   100% of fair market value, up to
                                                                                      any applicable statutory limit
 Line from
 Schedule A/B:        17




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                 page 3 of 4
 Debtor 1        Case  3-19-11239-cjf
                    Jakob        Lewis Doc 1                  Filed 04/18/19 Entered 04/18/19 12:23:46 Desc Main
                                                               Wheeler
 Debtor 2             Rachel              Rae                Document
                                                               Wheeler     Page 23 of 63   Case number (if known)
                      First Name          Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the      Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from       Check only one box for each exemption.
                                                        Schedule A/B

                                                                                  ✔
 Brief description:
 Summit Credit Union                                                      $5.84
                                                                                  ❑                  $5.84                 11 U.S.C. § 522(d)(5)

 Savings account                                                                  ❑   100% of fair market value, up to
                                                                                      any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                                  ✔
 Brief description:
 US Bank                                                               $114.30
                                                                                  ❑                 $114.30                11 U.S.C. § 522(d)(5)

 Checking account                                                                 ❑   100% of fair market value, up to
                                                                                      any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                                  ✔
 Brief description:
 Principal/Russ Darrow Group, Inc.                                   $4,428.85
                                                                                  ❑                $4,428.85               11 U.S.C. § 522(d)(10)
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:        21


                                                                                  ✔
 Brief description:
 American Family Insurance                                                $1.00
                                                                                  ❑                  $1.00                 11 U.S.C. § 522(d)(7)
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:        31




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                 page 4 of 4
                  Case 3-19-11239-cjf
 Fill in this information to identify your case:
                                                           Doc 1          Filed 04/18/19 Entered 04/18/19 12:23:46                                         Desc Main
                                                                         Document      Page 24 of 63
  Debtor 1                       Jakob                   Lewis                Wheeler
                                 First Name          Middle Name             Last Name

  Debtor 2                       Rachel                  Rae                  Wheeler
  (Spouse, if filing)            First Name          Middle Name             Last Name

  United States Bankruptcy Court for the:                             Western District of Wisconsin

  Case number                                                                                                                                          ❑    Check if this is an
  (if known)                                                                                                                                                amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
      ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ✔Yes. Fill in all of the information below.
      ❑
 Part 1: List All Secured Claims

 2.     List all secured claims. If a creditor has more than one secured claim, list the creditor separately for           Column A               Column B              Column C
        each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much          Amount of claim        Value of collateral   Unsecured
        as possible, list the claims in alphabetical order according to the creditor’s name.                               Do not deduct the      that supports         portion
                                                                                                                           value of collateral.   this claim            If any
 2.1 Connexus Credit Union                                  Describe the property that secures the claim:                           $7,537.00              $8,826.00                $0.00
        Creditor's Name
                                                               2015 Kia Forte
         2600 Pine Ridge Blvd
        Number          Street
         Wausau, WI 54401                                   As of the date you file, the claim is: Check all that apply.
        City                        State     ZIP Code      ❑Contingent
        Who owes the debt? Check one.                       ❑Unliquidated
        ✔ Debtor 1 only
        ❑                                                   ❑Disputed
        ❑Debtor 2 only                                      Nature of lien. Check all that apply.
        ❑Debtor 1 and Debtor 2 only                         ❑An agreement you made (such as mortgage or
        ❑At least one of the debtors and another                  secured car loan)
        ❑Check if this claim relates to a                   ❑Statutory lien (such as tax lien, mechanic's lien)
           community debt
                                                            ❑Judgment lien from a lawsuit
        Date debt was incurred                              ❑Other (including a right to offset)
        2/1/2017
                                                            Last 4 digits of account number 0            1   4    3

         Add the dollar value of your entries in Column A on this page. Write that number here:                                            $7,537.00




Official Form 106D                                               Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
 Debtor 1      Case  3-19-11239-cjf
                  Jakob        Lewis Doc 1                        Filed 04/18/19 Entered 04/18/19 12:23:46 Desc Main
                                                                   Wheeler
 Debtor 2              Rachel              Rae                   Document
                                                                   Wheeler     Page 25 of 63   Case number (if known)
                       First Name          Middle Name               Last Name


                                                                                                                   Column A               Column B              Column C
              Additional Page
                                                                                                                   Amount of claim        Value of collateral   Unsecured
  Part 1:     After listing any entries on this page, number them beginning with                                   Do not deduct the      that supports         portion
              2.3, followed by 2.4, and so forth.                                                                  value of collateral.   this claim            If any



 2.2 Mr. Cooper                                     Describe the property that secures the claim:                         $106,004.00           $117,700.00                   $0.00
     Creditor's Name
                                                     991 Hwy 14 Oregon, WI 53575
      350 Highland
     Number          Street
      Houston, TX 77067                             As of the date you file, the claim is: Check all that apply.
     City                       State   ZIP Code    ❑Contingent
     Who owes the debt? Check one.                  ❑Unliquidated
     ✔ Debtor 1 only
     ❑                                              ❑Disputed
     ❑Debtor 2 only                                 Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                    ❑An agreement you made (such as mortgage or
     ❑At least one of the debtors and another          secured car loan)
     ❑Check if this claim relates to a              ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                    ❑Judgment lien from a lawsuit
     Date debt was incurred                         ❑Other (including a right to offset)
     4/1/2010
                                                    Last 4 digits of account number 6            7   9    8




      Add the dollar value of your entries in Column A on this page. Write that number here:                                     $106,004.00
      If this is the last page of your form, add the dollar value totals from all pages. Write that number                       $113,541.00
      here:




Official Form 106D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 2
                 Case 3-19-11239-cjf
 Fill in this information to identify your case:
                                                      Doc 1         Filed 04/18/19 Entered 04/18/19 12:23:46                                    Desc Main
                                                                   Document      Page 26 of 63
  Debtor 1                   Jakob                 Lewis                Wheeler
                             First Name            Middle Name         Last Name

  Debtor 2                   Rachel                Rae                  Wheeler
  (Spouse, if filing)        First Name            Middle Name         Last Name

  United States Bankruptcy Court for the:                        Western District of Wisconsin

  Case number                                                                                                                               ❑    Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                            12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ❑ No. Go to Part 2.
     ✔ Yes.
     ❑
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority             Nonpriority
                                                                                                                                  claim       amount               amount

2.1      Internal Revenue Service                                                                                                   $2,103.06       $2,103.06               $0.00
                                                                     Last 4 digits of account number
        Priority Creditor's Name
                                                                     When was the debt incurred? 2016
         Centralized Insolvency Operation
                                                                     As of the date you file, the claim is: Check all that
         P. O. Box 7346                                              apply.
        Number           Street                                      ❑ Contingent
         Philadelphia, PA 19101-7346                                 ❑ Unliquidated
        City                               State   ZIP Code          ❑ Disputed
        Who incurred the debt? Check one.                            Type of PRIORITY unsecured claim:
        ❑ Debtor 1 only                                              ❑ Domestic support obligations
        ❑ Debtor 2 only                                              ✔ Taxes and certain other debts you owe the
                                                                     ❑
        ✔ Debtor 1 and Debtor 2 only
        ❑                                                                government
        ❑ At least one of the debtors and another                    ❑ Claims for death or personal injury while you were
        ❑ Check if this claim is for a community debt                    intoxicated
        Is the claim subject to offset?
                                                                     ❑ Other. Specify
        ✔ No
        ❑
        ❑ Yes
2.2      Internal Revenue Service                                    Last 4 digits of account number 8533                             $172.94            $172.94            $0.00
        Priority Creditor's Name
                                                                     When was the debt incurred? 2015
         Centralized Insolvency Operation                            As of the date you file, the claim is: Check all that
         P. O. Box 7346                                              apply.
        Number           Street                                      ❑ Contingent
         Philadelphia, PA 19101-7346                                 ❑ Unliquidated
        City                               State   ZIP Code          ❑ Disputed
        Who incurred the debt? Check one.                            Type of PRIORITY unsecured claim:
        ❑ Debtor 1 only                                              ❑ Domestic support obligations
        ❑ Debtor 2 only                                              ✔ Taxes and certain other debts you owe the
                                                                     ❑
        ✔ Debtor 1 and Debtor 2 only
        ❑                                                                government
        ❑ At least one of the debtors and another                    ❑ Claims for death or personal injury while you were
        ✔ Check if this claim is for a community debt
        ❑                                                                intoxicated
                                                                     ❑ Other. Specify
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes
Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                         page 1 of 8
 Debtor 1          Case  3-19-11239-cjf
                      Jakob        Lewis Doc 1                       Filed 04/18/19 Entered 04/18/19 12:23:46 Desc Main
                                                                      Wheeler
 Debtor 2              Rachel                 Rae                   Document
                                                                      Wheeler     Page 27 of 63   Case number (if known)
                       First Name              Middle Name              Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     Americollect                                                              Last 4 digits of account number 822C                                                $1,193.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          04/01/2018
        1851 S Alverno Road                                                       As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Number           Street

                                                                                  ❑ Unliquidated
        Manitowoc, WI 54221
        City                              State     ZIP Code
                                                                                  ❑ Disputed
        Who incurred the debt? Check one.
        ❑ Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:

        ❑                                                                         ❑ Student loans
                                                                                  ❑ Obligations arising out of a separation agreement or
          Debtor 2 only
        ✔
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?
                                                                                  ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             CollectionAttorney

        ❑ Yes
4.2     Capital One                                                               Last 4 digits of account number 8403                                                $3,530.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          06/01/2013
        Po Box 30281                                                              As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Number           Street

                                                                                  ❑ Unliquidated
        Salt Lake City, UT 84130
        City                              State     ZIP Code
                                                                                  ❑ Disputed
        Who incurred the debt? Check one.
        ✔
        ❑ Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:

        ❑                                                                         ❑ Student loans
                                                                                  ❑ Obligations arising out of a separation agreement or
          Debtor 2 only
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?
                                                                                  ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             CreditCard

        ❑ Yes
4.3     Capital One                                                               Last 4 digits of account number 0721                                                $3,255.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          04/01/2014
        Po Box 30281                                                              As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Number           Street

                                                                                  ❑ Unliquidated
        Salt Lake City, UT 84130
        City                              State     ZIP Code
                                                                                  ❑ Disputed
        Who incurred the debt? Check one.
        ✔
        ❑ Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:

        ❑                                                                         ❑ Student loans
                                                                                  ❑ Obligations arising out of a separation agreement or
          Debtor 2 only
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?
                                                                                  ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             CreditCard

        ❑ Yes



Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 2 of 8
                    Case 3-19-11239-cjf                 Doc 1     Filed 04/18/19 Entered 04/18/19 12:23:46                                   Desc Main
 Debtor 1              Jakob                  Lewis              Document
                                                                   Wheeler     Page 28 of 63
 Debtor 2              Rachel                 Rae                   Wheeler                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.4     Chase Card Services                                                   Last 4 digits of account number 5833                                         $4,680.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?          02/01/2014
        Po Box 15298
                                                                              As of the date you file, the claim is: Check all that apply.
       Number           Street
        Wilmington, DE 19850
                                                                              ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
                                                                                  divorce that you did not report as priority claims
       ❑
                                                                              ❑
              At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  CreditCard

       ❑      Yes
4.5     Discover Financial                                                    Last 4 digits of account number 5335                                         $3,877.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?          12/01/2014
        Po Box 15316
                                                                              As of the date you file, the claim is: Check all that apply.
       Number           Street
        Wilmington, DE 19850
                                                                              ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
                                                                                  divorce that you did not report as priority claims
       ❑
                                                                              ❑
              At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  CreditCard

       ❑      Yes
4.6     SSM Health                                                            Last 4 digits of account number 8822                                             $222.34
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?          09/23/2018
        Dean Medical Group
                                                                              As of the date you file, the claim is: Check all that apply.
        1802 W. Beltline Hwy
       Number           Street
                                                                              ❑   Contingent

        Madison, WI 53713
                                                                              ❑   Unliquidated
       City                              State     ZIP Code                   ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                   ❑   Student loans

       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ✔
       ❑
                                                                                  divorce that you did not report as priority claims
                                                                              ❑
              Debtor 1 and Debtor 2 only
                                                                                  Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                             similar debts
       ✔
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
                                                                                  Medical Services
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 3 of 8
                    Case 3-19-11239-cjf                 Doc 1     Filed 04/18/19 Entered 04/18/19 12:23:46                                   Desc Main
 Debtor 1              Jakob                  Lewis              Document
                                                                   Wheeler     Page 29 of 63
 Debtor 2              Rachel                 Rae                   Wheeler                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.7     Stoughton Hospital                                                    Last 4 digits of account number 7331                                             $869.17
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?          12/13/2018
        P.O. Box 982
                                                                              As of the date you file, the claim is: Check all that apply.
       Number           Street
        Horsham, PA 19044
                                                                              ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
                                                                                  divorce that you did not report as priority claims
       ❑
                                                                              ❑
              At least one of the debtors and another
       ✔
       ❑      Check if this claim is for a community debt
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Medical Services

       ❑      Yes
4.8     Summit Credit Union                                                   Last 4 digits of account number 0701                                        $12,338.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?          01/01/2017
        401 S Yellowstone Dr
                                                                              As of the date you file, the claim is: Check all that apply.
       Number           Street
        Madison, WI 53701
                                                                              ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
                                                                                  divorce that you did not report as priority claims
       ❑
                                                                              ❑
              At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  CreditCard

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 4 of 8
                   Case 3-19-11239-cjf                  Doc 1     Filed 04/18/19 Entered 04/18/19 12:23:46                                   Desc Main
 Debtor 1              Jakob                  Lewis              Document
                                                                   Wheeler     Page 30 of 63
 Debtor 2              Rachel                 Rae                   Wheeler                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.9     Transworld System, Inc.                                               Last 4 digits of account number 7258                                             $165.48
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        500 Virginia Drive 514
       Number           Street                                                As of the date you file, the claim is: Check all that apply.
        Fort Washington, PA 19034                                             ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                  divorce that you did not report as priority claims

       ✔
       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Medical Services
       ❑   Yes
        Remarks: Collection Account re: SSM Health
4.10    Transworld System, Inc.                                               Last 4 digits of account number 7257                                             $181.48
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?          11/06/2018
        500 Virginia Drive 514
                                                                              As of the date you file, the claim is: Check all that apply.
       Number           Street
        Fort Washington, PA 19034
                                                                              ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
                                                                                  divorce that you did not report as priority claims
       ❑
                                                                              ❑
              At least one of the debtors and another
       ✔
       ❑      Check if this claim is for a community debt
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Medical Services

       ❑   Yes
        Remarks: Collection Account re: SSM Health




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 5 of 8
                   Case 3-19-11239-cjf                  Doc 1     Filed 04/18/19 Entered 04/18/19 12:23:46                                   Desc Main
 Debtor 1              Jakob                  Lewis              Document
                                                                   Wheeler     Page 31 of 63
 Debtor 2              Rachel                 Rae                   Wheeler                                            Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


4.11    Transworld System, Inc.                                               Last 4 digits of account number 7260                                             $419.05
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?          11/06/2018
        500 Virginia Drive 514
                                                                              As of the date you file, the claim is: Check all that apply.
       Number           Street
        Fort Washington, PA 19034
                                                                              ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
                                                                                  divorce that you did not report as priority claims
       ❑
                                                                              ❑
              At least one of the debtors and another
       ✔
       ❑      Check if this claim is for a community debt
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Medical Services

       ❑   Yes
        Remarks: Collection account re: SSM Health
4.12    Transworld System, Inc.                                               Last 4 digits of account number 7261                                         $1,001.26
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?          11/06/2018
        500 Virginia Drive 514
                                                                              As of the date you file, the claim is: Check all that apply.
       Number           Street
        Fort Washington, PA 19034
                                                                              ❑   Contingent
       City                              State     ZIP Code                   ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
                                                                                  divorce that you did not report as priority claims
       ❑
                                                                              ❑
              At least one of the debtors and another
       ✔
       ❑      Check if this claim is for a community debt
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  Medical Services

       ❑   Yes
        Remarks: Collection account re: SSM Health




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 6 of 8
                Case 3-19-11239-cjf                  Doc 1       Filed 04/18/19 Entered 04/18/19 12:23:46                                      Desc Main
 Debtor 1              Jakob               Lewis                Document
                                                                  Wheeler     Page 32 of 63
 Debtor 2              Rachel              Rae                      Wheeler                                          Case number (if known)
                       First Name          Middle Name              Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection
     agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly,
     if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons
     to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        SSM Health                                                    On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
                                                                      Line 4.12 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
                                                                                                  ✔
        Dean Medical Group
        1802 W. Beltline Hwy                                                                      ❑    Part 2: Creditors with Nonpriority Unsecured Claims
       Number           Street
                                                                      Last 4 digits of account number 0456
        Madison, WI 53713
       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                  of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                    ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                  of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                    ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                  of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                    ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                  of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                    ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                  of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                    ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                  of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                    ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 7 of 8
                Case 3-19-11239-cjf                  Doc 1       Filed 04/18/19 Entered 04/18/19 12:23:46                           Desc Main
 Debtor 1              Jakob                Lewis               Document
                                                                  Wheeler     Page 33 of 63
 Debtor 2              Rachel               Rae                     Wheeler                                    Case number (if known)
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                              6a.                               $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                 6b.                           $2,276.00
                       government

                   6c. Claims for death or personal injury while you             6c.                               $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.           6d.   +                           $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                           6e.                            $2,276.00




                                                                                            Total claim


                   6f. Student loans                                             6f.                               $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                   6g.                               $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and             6h.                               $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.        6i.    +                     $31,731.78
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                           6j.                           $31,731.78




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 8 of 8
                    Case 3-19-11239-cjf
 Fill in this information to identify your case:
                                                        Doc 1         Filed 04/18/19 Entered 04/18/19 12:23:46                                    Desc Main
                                                                     Document      Page 34 of 63
     Debtor 1                   Jakob                Lewis                Wheeler
                                First Name           Middle Name         Last Name

     Debtor 2                   Rachel               Rae                  Wheeler
     (Spouse, if filing)        First Name           Middle Name         Last Name

     United States Bankruptcy Court for the:                       Western District of Wisconsin

     Case number                                                                                                                             ❑    Check if this is an
     (if known)                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1

        Name

        Number         Street

        City                                 State   ZIP Code

2.2

        Name

        Number         Street

        City                                 State   ZIP Code

2.3

        Name

        Number         Street

        City                                 State   ZIP Code

2.4

        Name

        Number         Street

        City                                 State   ZIP Code

2.5

        Name

        Number         Street

        City                                 State   ZIP Code



Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                                    page 1 of 1
                      Case 3-19-11239-cjf
 Fill in this information to identify your case:
                                                              Doc 1         Filed 04/18/19 Entered 04/18/19 12:23:46                              Desc Main
                                                                           Document      Page 35 of 63
  Debtor 1                        Jakob                   Lewis               Wheeler
                                 First Name              Middle Name         Last Name

  Debtor 2                        Rachel                  Rae                 Wheeler
  (Spouse, if filing)            First Name              Middle Name         Last Name

  United States Bankruptcy Court for the:                              Western District of Wisconsin

  Case number                                                                                                                               ❑     Check if this is an
  (if known)                                                                                                                                      amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                  12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ✔ No
      ❑
      ❑Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
    Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ❑No. Go to line 3.
      ✔Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
      ❑
        ❑No
        ✔Yes. In which community state or territory did you live?
        ❑                                                                                               . Fill in the name and current address of that person.


               Name

               Number          Street

               City                                   State     ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
    codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
    Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                                 Column 2: The creditor to whom you owe the debt
                                                                                                                Check all schedules that apply:
3.1                                                                                                             ❑Schedule D, line
      Name
                                                                                                                ❑Schedule E/F, line
      Number          Street                                                                                    ❑Schedule G, line
      City                                    State     ZIP Code

Official Form 106H                                                               Schedule H: Your Codebtors                                                             page 1 of 1
                 Case 3-19-11239-cjf
 Fill in this information to identify your case:
                                                       Doc 1         Filed 04/18/19 Entered 04/18/19 12:23:46                                  Desc Main
                                                                    Document      Page 36 of 63
  Debtor 1                   Jakob                  Lewis               Wheeler
                             First Name            Middle Name         Last Name

  Debtor 2                   Rachel                 Rae                 Wheeler
  (Spouse, if filing)        First Name            Middle Name         Last Name                                                 Check if this is:

  United States Bankruptcy Court for the:                        Western District of Wisconsin                                   ❑An amended filing
                                                                                                                                 ❑A supplement showing postpetition
  Case number                                                                                                                         chapter 13 income as of the following date:
  (if known)

                                                                                                                                      MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                  Debtor 1                                         Debtor 2 or non-filing spouse


     If you have more than one job,            Employment status            ✔Employed ❑Not Employed
                                                                            ❑                                                            ✔ Not Employed
                                                                                                                               ❑Employed ❑
     attach a separate page with
     information about additional              Occupation                   Auto Service Manager
     employers.
                                               Employer's name              Russ Darrow Madison West LLC
     Include part time, seasonal, or
     self-employed work.
                                               Employer's address           6525 Odana Rd
     Occupation may include student                                          Number Street                                     Number Street
     or homemaker, if it applies.




                                                                            Madison, WI 53719
                                                                             City                     State    Zip Code        City                    State      Zip Code
                                               How long employed there? 5 years



 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                          For Debtor 1      For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.              2.               $3,401.17                     $0.00

 3. Estimate and list monthly overtime pay.                                                  3.   +               $0.00    +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                             4.               $3,401.17                     $0.00




Official Form 106I                                                            Schedule I: Your Income                                                                  page 1
 Debtor 1          Case  3-19-11239-cjf
                      Jakob        Lewis Doc 1                                             Filed 04/18/19 Entered 04/18/19 12:23:46 Desc Main
                                                                                            Wheeler
 Debtor 2                   Rachel                          Rae                           Document
                                                                                            Wheeler     Page 37 of 63   Case number (if known)
                            First Name                      Middle Name                         Last Name


                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔            4.              $3,401.17                   $0.00
 5.   List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                                5a.              $579.13                    $0.00

      5b. Mandatory contributions for retirement plans                                                                 5b.                $0.00                    $0.00

      5c. Voluntary contributions for retirement plans                                                                 5c.              $136.05                    $0.00

      5d. Required repayments of retirement fund loans                                                                 5d.               $65.99                    $0.00

      5e. Insurance                                                                                                    5e.              $441.27                    $0.00

      5f. Domestic support obligations                                                                                 5f.                $0.00                    $0.00

      5g. Union dues                                                                                                   5g.                $0.00                    $0.00

      5h. Other deductions. Specify: See additional page                                                               5h.
                                                                                                                             +           $12.94        +           $0.00

 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.              $1,235.37                   $0.00
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.              $2,165.80                   $0.00
 8.   List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.
                                                                                                                       8a.                $0.00                    $0.00
      8b. Interest and dividends
                                                                                                                       8b.                $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                       8c.                $0.00                    $0.00
      8d. Unemployment compensation                                                                                    8d.                $0.00                    $0.00
      8e. Social Security                                                                                              8e.                $0.00                    $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify: Other Government Assistance - Food Share                                                          8f.                $0.00                  $500.00

      8g. Pension or retirement income                                                                                 8g.                $0.00                    $0.00

      8h. Other monthly income. Specify: Support from Debtor/Spouse                                                    8h.   +             $0.00       +         $790.83


 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.                  $0.00                $1,290.83

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.             $2,165.80   +            $1,290.83        =       $3,456.63

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                         11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.          $3,456.63
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ✔ No.
      ❑
      ❑Yes. Explain:


Official Form 106I                                                                                        Schedule I: Your Income                                                          page 2
 Debtor 1       Case  3-19-11239-cjf
                   Jakob        Lewis Doc 1                  Filed 04/18/19 Entered 04/18/19 12:23:46 Desc Main
                                                              Wheeler
 Debtor 2            Rachel             Rae                 Document
                                                              Wheeler     Page 38 of 63   Case number (if known)
                     First Name          Middle Name            Last Name




                                                                                                                   Amount



   5h. Other Deductions For Debtor 1
   employmentDetailsId: 13274
                                                                                                                     $12.94

   8f. Other government assistance that you regularly receive For Debtor 2
        Other Government Assistance - Food Share                                                                    $500.00

   8h. Other monthly income For Debtor 2
        Support from Debtor/Spouse                                                                                  $790.83




Official Form 106I                                               Schedule I: Your Income                                page 3
                 Case 3-19-11239-cjf
 Fill in this information to identify your case:
                                                          Doc 1          Filed 04/18/19 Entered 04/18/19 12:23:46                               Desc Main
                                                                        Document      Page 39 of 63
  Debtor 1                   Jakob                    Lewis                  Wheeler
                             First Name              Middle Name            Last Name                               Check if this is:
  Debtor 2                   Rachel                   Rae                    Wheeler                                ❑An amended filing
  (Spouse, if filing)        First Name              Middle Name            Last Name                               ❑A supplement showing postpetition
                                                                                                                        chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                           Western District of Wisconsin

  Case number                                                                                                           MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ❑No. Go to line 2.
     ✔Yes. Does Debtor 2 live in a separate household?
     ❑
            ❑No
            ✔Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
            ❑
 2. Do you have dependents?                        ✔ No
                                                   ❑
     Do not list Debtor 1 and
     Debtor 2.
                                                   ❑Yes. Fill out this information for    Dependent's relationship to
                                                                                          Debtor 1 or Debtor 2
                                                                                                                               Dependent's
                                                                                                                               age
                                                                                                                                                   Does dependent live
                                                                                                                                                   with you?
                                                      each dependent...............
     Do not state the dependents' names.                                                                                                           ❑No.     ❑Yes.
                                                                                                                                                   ❑No.     ❑Yes.
                                                                                                                                                   ❑No.     ❑Yes.
                                                                                                                                                   ❑No.     ❑Yes.
                                                                                                                                                   ❑No.     ❑Yes.
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                     Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                 4.                        $500.00


     If not included in line 4:
                                                                                                                                   4a.                         $0.00
     4a. Real estate taxes
                                                                                                                                   4b.                         $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                   4c.                         $0.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                   4d.                         $0.00
     4d. Homeowner's association or condominium dues




Official Form 106J                                                                     Schedule J: Your Expenses                                                         page 1
 Debtor 1           Case  3-19-11239-cjf
                       Jakob        Lewis Doc 1                     Filed 04/18/19 Entered 04/18/19 12:23:46 Desc Main
                                                                     Wheeler
 Debtor 2              Rachel                 Rae                  Document
                                                                     Wheeler     Page 40 of 63   Case number (if known)
                       First Name             Middle Name               Last Name


                                                                                                                    Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                            5.

 6.    Utilities:

       6a. Electricity, heat, natural gas                                                                    6a.                      $0.00

       6b. Water, sewer, garbage collection                                                                  6b.                      $0.00

       6c. Telephone, cell phone, Internet, satellite, and cable services                                    6c.                     $60.00

       6d. Other. Specify:                                                                                   6d.                      $0.00

 7.    Food and housekeeping supplies                                                                        7.                     $250.00

 8.    Childcare and children’s education costs                                                              8.                     $100.00

 9.    Clothing, laundry, and dry cleaning                                                                   9.                     $100.00

 10. Personal care products and services                                                                     10.                    $200.00

 11.   Medical and dental expenses                                                                           11.                     $20.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                            12.                    $200.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.                    $100.00

 14. Charitable contributions and religious donations                                                        14.                      $0.00

 15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                             15a.                     $0.00
       15a. Life insurance
                                                                                                             15b.                     $0.00
       15b. Health insurance
                                                                                                             15c.                   $145.00
       15c. Vehicle insurance
                                                                                                             15d.                     $0.00
       15d. Other insurance. Specify:

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                              16.                      $0.00

 17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                       17a.                   $221.00

       17b. Car payments for Vehicle 2                                                                       17b.

       17c. Other. Specify:                                                                                  17c.

       17d. Other. Specify:                                                                                  17d.

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                  18.                      $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                              19.                      $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                      20a.                     $0.00

       20b. Real estate taxes                                                                                20b.                     $0.00

       20c. Property, homeowner’s, or renter’s insurance                                                     20c.                     $0.00
       20d. Maintenance, repair, and upkeep expenses                                                         20d.                     $0.00
       20e. Homeowner’s association or condominium dues                                                      20e.                     $0.00
Official Form 106J                                                              Schedule J: Your Expenses                                     page 2
 Debtor 1       Case  3-19-11239-cjf
                   Jakob        Lewis Doc 1                      Filed 04/18/19 Entered 04/18/19 12:23:46 Desc Main
                                                                  Wheeler
 Debtor 2              Rachel               Rae                 Document
                                                                  Wheeler     Page 41 of 63   Case number (if known)
                       First Name           Middle Name              Last Name



 21. Other. Specify:                                                                                        21.    +       $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                          22a.       $1,896.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                  22b.       $1,326.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                       22c.       $3,222.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                     23a.       $3,456.63

      23b. Copy your monthly expenses from line 22c above.                                                  23b.   –   $3,222.00

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                            23c.        $234.63
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑Yes.




Official Form 106J                                                             Schedule J: Your Expenses                           page 3
                 Case 3-19-11239-cjf                      Doc 1          Filed 04/18/19 Entered 04/18/19 12:23:46                              Desc Main
 Fill in this information to identify your case:                        Document      Page 42 of 63

  Debtor 1                   Jakob                    Lewis                  Wheeler
                             First Name              Middle Name            Last Name                              Check if this is:
  Debtor 2                   Rachel                   Rae                    Wheeler                               ❑An amended filing
  (Spouse, if filing)        First Name              Middle Name            Last Name                              ❑A supplement showing post-petition chapter 13
                                                                                                                       expenses as of the following date:
  United States Bankruptcy Court for the:                           Western District of Wisconsin
                                                                                                                       MM / DD / YYYY
  Case number
  (if known)



Official Form 106J-2
Schedule J-2: Expenses for Separate Household of Debtor 2                                                                                                            12/15
Use this form for Debtor 2’s separate household expenses ONLY IF Debtor 1 and Debtor 2 maintain separate households. If Debtor 1 and Debtor 2 have one or
more dependents in common, list the dependents on both Schedule J and this form. Answer the questions on this form only with respect to expenses for Debtor
2 that are not reported on Schedule J. Be as complete and accurate as possible. If more space is needed, attach another sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Your Household

 1. Is this a joint case?

     ❑No. Do not complete this form.
     ✔Yes
     ❑
 2. Do you have dependents?                        ❑No
     Do not list Debtor 1 but list all             ✔Yes. Fill out this information for
                                                   ❑                                     Dependent's relationship to            Dependent's         Does dependent live
     other dependents of Debtor 2                                                        Debtor 2:                              age                 with you?
                                                      each dependent...............
     regardless of whether listed as a
     dependent of Debtor 1 on
                                                                                         Child                                   6                  ❑No.    ✔Yes.
                                                                                                                                                            ❑
     Schedule J.                                                                         Child                                   2                  ❑No.    ✔Yes.
                                                                                                                                                            ❑
     Only list dependents                                                                                                                           ❑No.    ❑Yes.
     Do not state the dependents' names.                                                                                                            ❑No.    ❑Yes.
                                                                                                                                                    ❑No.    ❑Yes.
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself, your
    dependents, and Debtor 1?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed.

 Include expenses paid for with non-cash government assistance if you know the value of                                                    Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                4.


     If not included in line 4:
                                                                                                                                  4a.                        $0.00
     4a. Real estate taxes
                                                                                                                                  4b.                        $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                  4c.                       $50.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                  4d.
     4d. Homeowner's association or condominium dues                                                                                                         $0.00




Official Form 106J-2                                                Schedule J-2: Expenses for Separate Household of Debtor 2                                         page 1
                    Case 3-19-11239-cjf                Doc 1        Filed 04/18/19 Entered 04/18/19 12:23:46                          Desc Main
 Debtor 1              Jakob                  Lewis                Document
                                                                     Wheeler     Page 43 of 63
 Debtor 2              Rachel                 Rae                      Wheeler                                    Case number (if known)
                       First Name             Middle Name               Last Name


                                                                                                                                  Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                       5.

 6.    Utilities:

       6a. Electricity, heat, natural gas                                                                               6a.                       $158.00

       6b. Water, sewer, garbage collection                                                                             6b.                        $38.00

       6c. Telephone, cell phone, Internet, satellite, and cable services                                               6c.                       $150.00

       6d. Other. Specify:                                                                                              6d.                         $0.00

 7.    Food and housekeeping supplies                                                                                   7.                        $600.00

 8.    Childcare and children’s education costs                                                                         8.                         $20.00

 9.    Clothing, laundry, and dry cleaning                                                                              9.                        $100.00

 10. Personal care products and services                                                                                10.                        $20.00

 11.   Medical and dental expenses                                                                                      11.                        $50.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                       12.                       $140.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                                 13.                        $50.00

 14. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.                                   14.                         $0.00

 15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                        15a.                        $0.00
       15a. Life insurance
                                                                                                                        15b.                        $0.00
       15b. Health insurance
                                                                                                                        15c.                        $0.00
       15c. Vehicle insurance
                                                                                                                        15d.                        $0.00
       15d. Other insurance. Specify:

 16. Charitable contributions and religious donations
       Specify:                                                                                                         16.                         $0.00

 17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                                  17a.

       17b. Car payments for Vehicle 2                                                                                  17b.

       17c. Other. Specify:                                                                                             17c.

       17d. Other. Specify:                                                                                             17d.

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                             18.                         $0.00

 19. Other payments you make to support others who do not live with you
       Specify:                                                                                                         19.                         $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income

       20a. Mortgages on other property                                                                                 20a.                        $0.00

       20b. Real estate taxes                                                                                           20b.                        $0.00

       20c. Property, homeowner’s, or renter’s insurance                                                                20c.                        $0.00
       20d. Maintenance, repair, and upkeep expenses                                                                    20d.                        $0.00
       20e. Homeowner’s association or condominium dues                                                                 20e.                        $0.00
Official Form 106J-2                                            Schedule J-2: Expenses for Separate Household of Debtor 2                                   page 2
               Case 3-19-11239-cjf                   Doc 1        Filed 04/18/19 Entered 04/18/19 12:23:46                             Desc Main
 Debtor 1              Jakob                Lewis                Document
                                                                   Wheeler     Page 44 of 63
 Debtor 2              Rachel               Rae                      Wheeler                                       Case number (if known)
                       First Name           Middle Name               Last Name



 21. Other. Specify:                                                                                                      21.    +              $0.00

 22. Your monthly expenses. Add lines 5 through 21.
      The result is the monthly expenses of Debtor 2. Copy the result to line 22b of Schedule J to calculate the                            $1,326.00
      total expenses for Debtor 1 and Debtor 2.
                                                                                                                          22.

 23. Line not used on this form.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑            None
      ❑Yes.




Official Form 106J-2                                          Schedule J-2: Expenses for Separate Household of Debtor 2                                 page 3
                 Case 3-19-11239-cjf
 Fill in this information to identify your case:
                                                      Doc 1         Filed 04/18/19 Entered 04/18/19 12:23:46                                 Desc Main
                                                                   Document      Page 45 of 63
  Debtor 1                   Jakob                 Lewis                Wheeler
                             First Name            Middle Name         Last Name

  Debtor 2                   Rachel                Rae                  Wheeler
  (Spouse, if filing)        First Name            Middle Name         Last Name

  United States Bankruptcy Court for the:                        Western District of Wisconsin

  Case number                                                                                                                            ❑    Check if this is an
  (if known)                                                                                                                                  amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                                  12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                                . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                         (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Jakob Lewis Wheeler                                              ✘ /s/ Rachel Rae Wheeler
        Jakob Lewis Wheeler, Debtor 1                                         Rachel Rae Wheeler, Debtor 2


        Date 04/15/2019                                                       Date 04/15/2019
                MM/ DD/ YYYY                                                        MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                  Case 3-19-11239-cjf                    Doc 1         Filed 04/18/19 Entered 04/18/19 12:23:46                                Desc Main
                                                                      Document      Page 46 of 63
 Fill in this information to identify your case:

  Debtor 1                   Jakob                 Lewis                Wheeler
                             First Name            Middle Name         Last Name

  Debtor 2                   Rachel                Rae                  Wheeler
  (Spouse, if filing)        First Name            Middle Name         Last Name

  United States Bankruptcy Court for the:                        Western District of Wisconsin

  Case number                                                                                                                         ❑    Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and territories
  include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ❑ No
    ✔ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).
    ❑

 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                     Debtor 1                                                Debtor 2

                                                     Sources of income              Gross Income             Sources of income            Gross Income
                                                     Check all that apply.          (before deductions and   Check all that apply.        (before deductions and
                                                                                    exclusions)                                           exclusions)




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1
                Case 3-19-11239-cjf                     Doc 1         Filed 04/18/19 Entered 04/18/19 12:23:46                                     Desc Main
                                                                     Document      Page 47 of 63
Debtor 1            Jakob                 Lewis                    Wheeler
Debtor 2            Rachel                Rae                      Wheeler                                                Case number (if known)
                    First Name            Middle Name               Last Name



    From January 1 of current year until the
                                                    ✔ Wages, commissions,
                                                    ❑                                                             ❑ Wages, commissions,
                                                        bonuses, tips                           $15,781.79             bonuses, tips
    date you filed for bankruptcy:
                                                    ❑Operating a business                                         ❑Operating a business

    For last calendar year:                         ✔ Wages, commissions,
                                                    ❑                                                             ❑ Wages, commissions,
                                                        bonuses, tips                           $62,602.91             bonuses, tips
    (January 1 to December 31, 2018         )
                                     YYYY           ❑Operating a business                                         ❑Operating a business

    For the calendar year before that:              ✔ Wages, commissions,
                                                    ❑                                                             ❑ Wages, commissions,
                                                        bonuses, tips                           $54,755.00             bonuses, tips
    (January 1 to December 31, 2017         )
                                     YYYY           ❑Operating a business                                         ❑Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
  payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
  have income that you received together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
               individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               ❑No. Go to line 7.
               ❑Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                          payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔Yes.
    ❑          Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               ❑No. Go to line 7.
               ✔Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
               ❑
                          payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                          this bankruptcy case.




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 2
                   Case 3-19-11239-cjf                     Doc 1       Filed 04/18/19 Entered 04/18/19 12:23:46                                       Desc Main
                                                                      Document      Page 48 of 63
Debtor 1             Jakob                   Lewis                  Wheeler
Debtor 2             Rachel                  Rae                    Wheeler                                              Case number (if known)
                     First Name              Middle Name             Last Name

                                                               Dates of            Total amount paid           Amount you still owe          Was this payment for…
                                                               payment

                                                                                                                                           ❑Mortgage
                 Connexus Credit Union
             Creditor's Name
                                                               02/15/2019                        $663.00                     $7,537.00
                                                                                                                                           ✔ Car
                                                                                                                                           ❑
              2600 Pine Ridge Blvd                             01/15/2019                                                                  ❑Credit card
             Number        Street
                                                                                                                                           ❑Loan repayment
                                                                                                                                           ❑Suppliers or vendors
                                                               3/15/2019
              Wausau, WI 54401
                                                                                                                                           ❑Other
             City                    State      ZIP Code




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
  officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
  proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.

  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.

 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
  disputes.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                     Nature of the case                          Court or agency                                  Status of the case


                                                                                                                                                 ✔Pending
                                                     Divorce
    Case title        In RE the marriage of
                      Rachel Rae Wheeler and
                                                                                                Dane County Circuit Court                        ❑
                                                                                                                                                 ❑On appeal
                                                                                               Court Name
                      Jakob Lewis Wheeler
                                                                                                                                                 ❑Concluded
                                                                                                215 S. Hamilton Street
    Case number 18 FA 1778                                                                     Number       Street
                                                                                                Madison, WI 53703
                                                                                               City                       State     ZIP Code



                                                                                                                                                 ✔Pending
                                                     Foreclosure
    Case title        Nationstar Mortgage LLC
                      d/b/a Mr. Cooper vs. Jakob
                                                                                                Dane County Circuit Court                        ❑
                                                                                                                                                 ❑On appeal
                                                                                               Court Name
                      L. Wheeler et al
                                                                                                                                                 ❑Concluded
                                                                                                215 S. Hamilton Street
    Case number 19 CV 236                                                                      Number       Street
                                                                                                Madison, WI 53703
                                                                                               City                       State     ZIP Code




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                 page 3
                Case 3-19-11239-cjf                      Doc 1      Filed 04/18/19 Entered 04/18/19 12:23:46                                 Desc Main
                                                                   Document      Page 49 of 63
Debtor 1            Jakob                  Lewis                  Wheeler
Debtor 2            Rachel                 Rae                    Wheeler                                         Case number (if known)
                    First Name             Middle Name            Last Name



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔No. Go to line 11.
    ❑
    ❑Yes. Fill in the information below.

  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse
  to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑Yes. Fill in the details.

  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
  receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift.

  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift or contribution.

 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

    ✔ No
    ❑
    ❑Yes. Fill in the details.

 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
  seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑No
    ✔Yes. Fill in the details.
    ❑



Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 4
                Case 3-19-11239-cjf                      Doc 1         Filed 04/18/19 Entered 04/18/19 12:23:46                            Desc Main
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Debtor 1            Jakob                 Lewis                    Wheeler
Debtor 2            Rachel                Rae                      Wheeler                                        Case number (if known)
                    First Name            Middle Name                 Last Name

                                                   Description and value of any property transferred             Date payment or      Amount of payment
     Affordable Legal Services                                                                                   transfer was made
    Person Who Was Paid                           Attorney’s Fee
                                                                                                                01/16/2019                        $500.00
     385 EAST MAIN ST
    Number     Street




     Sun Prairie, WI 53590
    City                     State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You


                                                   Description and value of any property transferred             Date payment or      Amount of payment
     Affordable Legal Services                                                                                   transfer was made
    Person Who Was Paid                           Attorney fee
                                                                                                                4/15/2019                         $350.00
     385 EAST MAIN ST
    Number     Street




     Sun Prairie, WI 53590
    City                     State   ZIP Code
     angela@bakkelawllc.com
    Email or website address
     Angela R Bakke
    Person Who Made the Payment, if Not You


                                                   Description and value of any property transferred             Date payment or      Amount of payment
     Urgent Credit Counseling, Inc.                                                                              transfer was made
    Person Who Was Paid                           Credit counseling
                                                                                                                04/15/2019                         $60.00
     PO BOX 88588
    Number     Street




     Milwaukee, WI 53288
    City                     State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
  deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑Yes. Fill in the details.




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
                   Case 3-19-11239-cjf                  Doc 1        Filed 04/18/19 Entered 04/18/19 12:23:46                                 Desc Main
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Debtor 1            Jakob                 Lewis                   Wheeler
Debtor 2            Rachel                Rae                     Wheeler                                         Case number (if known)
                    First Name            Middle Name              Last Name



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                   Description and value of property         Describe any property or payments received      Date transfer was
                                                   transferred                               or debts paid in exchange                       made
     Third party                                  2003 Toyota Corolla                       $2,500
    Person Who Received Transfer                                                                                                            1/2019


    Number     Street


     ,
    City                     State   ZIP Code


    Person's relationship to you
     None

                                                  2 gold wedding bands                      $400
     Rick's Olde Gold                                                                                                                       7/2018
    Person Who Received Transfer

     1314 Williamson St
    Number     Street


     Madison, WI 53703
    City                     State   ZIP Code


    Person's relationship to you
     None




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
  often called asset-protection devices.)

    ✔ No
    ❑
    ❑Yes. Fill in the details.

 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
  transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
  cooperatives, associations, and other financial institutions.

    ❑No
    ✔Yes. Fill in the details.
    ❑




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 6
                 Case 3-19-11239-cjf                       Doc 1          Filed 04/18/19 Entered 04/18/19 12:23:46                                    Desc Main
                                                                         Document      Page 52 of 63
Debtor 1            Jakob                   Lewis                    Wheeler
Debtor 2            Rachel                  Rae                      Wheeler                                               Case number (if known)
                    First Name              Middle Name              Last Name

                                                    Last 4 digits of account number               Type of account or        Date account was          Last balance
                                                                                                  instrument                closed, sold, moved, or   before closing or
                                                                                                                            transferred               transfer

     Summit Credit Union
                                                                                              ✔Checking
                                                                                                                             12/20/2018                       $0.84
                                                                                              ❑
    Name of Financial Institution                   XXXX– 1          9     0      0
     PO Box 8046                                                                              ❑Savings
    Number      Street
                                                                                              ❑Money market
                                                                                              ❑Brokerage
                                                                                              ❑Other
     Madison, WI 53718
    City                     State     ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑Yes. Fill in the details.

  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                        Who else has or had access to it?                Describe the contents                        Do you still have
                                                                                                                                                      it?
                                                                                                        See Schedule A/B
     Oregon Self Storage                                                                                                                              ❑No
    Name of Storage Facility                        Name                                                                                              ✔Yes
                                                                                                                                                      ❑
     5285 Lincoln Rd
    Number      Street
                                                    Number       Street


                                                    ,
                                                    City                       State   ZIP Code
     Oregon, WI 53575
    City                       State    ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑Yes. Fill in the details.




Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 7
                   Case 3-19-11239-cjf                     Doc 1        Filed 04/18/19 Entered 04/18/19 12:23:46                                        Desc Main
                                                                       Document      Page 53 of 63
Debtor 1             Jakob                  Lewis                     Wheeler
Debtor 2             Rachel                 Rae                       Wheeler                                              Case number (if known)
                     First Name             Middle Name               Last Name
 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
      or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
      wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
      including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
      contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑Yes. Fill in the details.

  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑Yes. Fill in the details.

  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑Yes. Fill in the details.

 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ✔No. None of the above applies. Go to Part 12.
    ❑
    ❑Yes. Check all that apply above and fill in the details below for each business.

  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors,
  or other parties.

    ✔ No
    ❑
    ❑Yes. Fill in the details below.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                   page 8
              Case 3-19-11239-cjf                   Doc 1      Filed 04/18/19 Entered 04/18/19 12:23:46                                    Desc Main
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Debtor 1           Jakob                Lewis                   Wheeler
Debtor 2           Rachel               Rae                     Wheeler                                        Case number (if known)
                   First Name           Middle Name             Last Name




Part 12: Sign Below


 I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
 correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
 can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




   ✘                   /s/ Jakob Lewis Wheeler                      ✘                    /s/ Rachel Rae Wheeler
       Signature of Jakob Lewis Wheeler, Debtor 1                         Signature of Rachel Rae Wheeler, Debtor 2


       Date 04/15/2019                                                    Date 04/15/2019




 Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

   ✔ No
   ❑
   ❑Yes
 Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
                                                                                                     Attach the Bankruptcy Petition Preparer’s Notice,
   ❑Yes. Name of person                                                                              Declaration, and Signature (Official Form 119).
                 Case 3-19-11239-cjf
 Fill in this information to identify your case:
                                                      Doc 1         Filed 04/18/19 Entered 04/18/19 12:23:46                               Desc Main
                                                                   Document      Page 55 of 63
  Debtor 1                   Jakob                 Lewis                Wheeler
                             First Name            Middle Name         Last Name

  Debtor 2                   Rachel                Rae                  Wheeler
  (Spouse, if filing)        First Name            Middle Name         Last Name

  United States Bankruptcy Court for the:                        Western District of Wisconsin

  Case number                                                                                                                          ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                      12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier, unless
the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known).



 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information below.
     Identify the creditor and the property that is collateral              What do you intend to do with the property that secures a Did you claim the property as
                                                                            debt?                                                     exempt on Schedule C?

    Creditor’s                                                              ❑ Surrender the property.                                     ✔ No
                                                                                                                                          ❑
    name:                 Mr. Cooper
                                                                            ❑ Retain the property and redeem it.                          ❑ Yes
    Description of        991 Hwy 14 Oregon, WI 53575                       ✔ Retain the property and enter into a
                                                                            ❑
    property                                                                       Reaffirmation Agreement.
    securing debt:
                                                                            ❑ Retain the property and [explain]:


    Creditor’s                                                              ❑ Surrender the property.                                     ❑ No
    name:                 Connexus Credit Union
                                                                            ❑ Retain the property and redeem it.                          ✔ Yes
                                                                                                                                          ❑
    Description of        2015 Kia Forte                                    ✔ Retain the property and enter into a
                                                                            ❑
    property                                                                       Reaffirmation Agreement.
    securing debt:
                                                                            ❑ Retain the property and [explain]:




Official Form 108                                        Statement of Intention for Individuals Filing Under Chapter 7                                              page 1
 Debtor 1      Case  3-19-11239-cjf
                  Jakob        Lewis Doc 1                     Filed 04/18/19 Entered 04/18/19 12:23:46 Desc Main
                                                                Wheeler
 Debtor 2             Rachel              Rae                 Document
                                                                Wheeler     Page 56 of 63   Case number (if known)
                      First Name          Middle Name             Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the information
 below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an unexpired personal
 property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                                Will the lease be assumed?
    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal property that
   is subject to an unexpired lease.



✘                    /s/ Jakob Lewis Wheeler                      ✘                    /s/ Rachel Rae Wheeler
    Signature of Debtor 1                                              Signature of Debtor 2


    Date 04/15/2019                                                    Date 04/15/2019
            MM/ DD/ YYYY                                                      MM/ DD/ YYYY




Official Form 108                                    Statement of Intention for Individuals Filing Under Chapter 7                                               page 2
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                                                                 Document      Page 57 of 63

                                                    United States Bankruptcy Court
                                                                 Western District of Wisconsin

In re
Wheeler, Jakob Lewis                                                                                                    Case No.
Wheeler, Rachel Rae                                                                                                     Chapter       7
Debtor(s)


                                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
     rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
            For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . .                            $850.00
            Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . .                              $850.00
            Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                $0.00

2.   The source of the compensation to be paid to me was:
            ✔ Debtor
            ❑                                          ❑ Other (specify)
3.   The source of compensation to be paid to me is:
            ✔ Debtor
            ❑                                          ❑ Other (specify)
4.   ✔
     ❑   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
     of my law firm.

     ❑   I have agreed to share the above-disclosed compensation with another person or persons who are not members or associates
     of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
     a.   Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
          bankruptcy;
     b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
     c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                             CERTIFICATION

                           I certify that the foregoing is a complete statement of any agreement or arrangement for
                         payment to me for representation of the debtor(s) in this bankruptcy proceeding.

                         04/15/2019                                       /s/ Angela R Bakke
                         Date                                                  Signature of Attorney

                                                                          Affordable Legal Services
                                                                              Name of law firm
                 Case 3-19-11239-cjf
 Fill in this information to identify your case:
                                                      Doc 1         Filed 04/18/19 Entered 04/18/19  12:23:46
                                                                                               Check one               Descin this
                                                                                                         box only as directed  Mainform and in Form
                                                                   Document      Page 58 of 63 122A-1Supp:
  Debtor 1                   Jakob
                             First Name
                                                   Lewis
                                                   Middle Name
                                                                         Wheeler
                                                                         Last Name
                                                                                                                      ✔1. There is no presumption of abuse.
                                                                                                                      ❑
  Debtor 2                   Rachel                Rae                   Wheeler                                      ❑2. The calculation to determine if a presumption of
  (Spouse, if filing)        First Name            Middle Name           Last Name                                       abuse applies will be made under Chapter 7 Means
                                                                                                                         Test Calculation (Official Form 122A-2).
  United States Bankruptcy Court for the:                        Western District of Wisconsin

  Case number
                                                                                                                      ❑3. The Means Test does not apply now because of
                                                                                                                         qualified military service but it could apply later.
  (if known)

                                                                                                                      ❑ Check if this is an amended filing
Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1: Calculate Your Current Monthly Income

 1.   What is your marital and filing status? Check one only.
      ❑Not married. Fill out Column A, lines 2-11.
      ✔ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
      ❑
      ❑ Married and your spouse is NOT filing with you. You and your spouse are:
         ❑Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.
         ✔ Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
         ❑
               penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
               apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
        101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied
        during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if
        both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                                Column A                Column B
                                                                                                                Debtor 1                Debtor 2 or
                                                                                                                                        non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all                                      $4,957.58
    payroll deductions).

 3. Alimony and maintenance payments if Column B is filled in. Do not include payments from a                               $0.00
    spouse.
 4. All amounts from any source which are regularly paid for household expenses of you or your
    dependents, including child support. Include regular contributions from
    an unmarried partner, members of your household, your dependents, parents, and roommates.
    Include regular contributions from a spouse only if Column B is not filled in. Do not include
    payments you listed on line 3.                                                                                          $0.00

 5. Net income from operating a business, profession, or
    farm                                                                  Debtor 1         Debtor 2
                                                                               $0.00
      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses
                                                                     -         $0.00   -
                                                                               $0.00                   Copy
      Net monthly income from a business, profession, or farm                                                               $0.00
                                                                                                       here →

 6. Net income from rental and other real property                        Debtor 1         Debtor 2
                                                                               $0.00
      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses
                                                                     -         $0.00   -
                                                                               $0.00                   Copy
      Net monthly income from rental or other real property                                                                 $0.00
                                                                                                       here →

       7. Interest, dividends, and royalties                                                                                $0.00


 Official Form 122A-1                                               Chapter 7 Statement of Your Current Monthly Income                                                      page 1
Debtor 1            Case  3-19-11239-cjf
                       Jakob        Lewis Doc 1                                                  Filed 04/18/19 Entered 04/18/19 12:23:46 Desc Main
                                                                                                  Wheeler
Debtor 2                     Rachel                            Rae                              Document
                                                                                                  Wheeler     Page 59 of 63   Case number (if known)
                            First Name                         Middle Name                               Last Name
                                                                                                                                         Column A                          Column B
                                                                                                                                         Debtor 1                          Debtor 2 or
                                                                                                                                                                           non-filing spouse
       8. Unemployment compensation                                                                                                                         $0.00
            Do not enter the amount if you contend that the amount received was a benefit under
           the Social Security Act. Instead, list it here: ..................................................        ↓
           For you....................................................................................                     $0.00
           For your spouse......................................................................

       9. Pension or retirement income. Do not include any amount received that was a benefit                                                               $0.00
          under the Social Security Act.

      10. Income from all other sources not listed above. Specify the source and amount.
          Do not include any benefits received under the Social Security Act or payments received
          as a victim of a war crime, a crime against humanity, or international or domestic
          terrorism. If necessary, list other sources on a separate page and put the total below.

     Support from Debtor/Spouse                                                                                                                             $0.00



     Total amounts from separate pages, if any.                                                                                         +                                   +
                                                                                                                                                     $4,957.58                                 =       $5,211.05
       11. Calculate your total current monthly income. Add lines 2 through 10 for each                                                                                     +
           column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                                    Total current
                                                                                                                                                                                                   monthly income



 Part 2: Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

   12a. Copy your total current monthly income from line 11....................................................................................                         Copy line 11 here →          $5,211.05

             Multiply by 12 (the number of months in a year).                                                                                                                                      X 12
   12b. The result is your annual income for this part of the form.                                                                                                                    12b.         $62,532.60

13. Calculate the median family income that applies to you. Follow these steps:
    Fill in the state in which you live.                                                 Wisconsin

    Fill in the number of people in your household.                                    4

    Fill in the median family income for your state and size of household....................................................................................................           13.         $99,341.00
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?
        ✔Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
   14a. ❑
          Go to Part 3.
   14b. ❑Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2. Go to Part
         3 and fill out Form 122A–2.
 Part 3: Sign Below

       By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


       X /s/ Jakob Lewis Wheeler                                                                                         X /s/ Rachel Rae Wheeler
             Signature of Debtor 1                                                                                            Signature of Debtor 2

            Date            04/15/2019                                                                                       Date           04/15/2019
                         MM/DD/YYYY                                                                                                    MM/DD/YYYY

       If you checked line 14a, do NOT fill out or file Form 122A–2.

       If you checked line 14b, fill out Form 122A–2 and file it with this form.

Official Form 122A-1                                                                            Chapter 7 Statement of Your Current Monthly Income                                                           page 2
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                                                       Filed  04/18/19
                                                         UNITED            EnteredCOURT
                                                                STATES BANKRUPTCY    04/18/19 12:23:46                               Desc Main
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                                                                         OF WISCONSIN
                                                                    MADISON DIVISION

IN RE: Wheeler, Jakob Lewis                                                                  CASE NO
       Wheeler, Rachel Rae
                                                                                             CHAPTER 7




                                                      VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       04/15/2019              Signature                                   /s/ Jakob Lewis Wheeler
                                                                             Jakob Lewis Wheeler, Debtor


Date       04/15/2019              Signature                                  /s/ Rachel Rae Wheeler
                                                                          Rachel Rae Wheeler, Joint Debtor
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                                  Americollect
                                  1851 S Alverno Road
                                  Manitowoc, WI 54221




                                  Capital One
                                  Po Box 30281
                                  Salt Lake City, UT 84130




                                  Chase Card Services
                                  Po Box 15298
                                  Wilmington, DE 19850




                                  Connexus Credit Union
                                  2600 Pine Ridge Blvd
                                  Wausau, WI 54401




                                  Discover Financial
                                  Po Box 15316
                                  Wilmington, DE 19850




                                  Internal Revenue Service
                                  Centralized Insolvency Operation
                                  P. O. Box 7346
                                  Philadelphia, PA 19101-7346



                                  Mr. Cooper
                                  350 Highland
                                  Houston, TX 77067




                                  SSM Health
                                  Dean Medical Group
                                  1802 W. Beltline Hwy
                                  Madison, WI 53713
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                                  Stoughton Hospital
                                  P.O. Box 982
                                  Horsham, PA 19044




                                  Summit Credit Union
                                  401 S Yellowstone Dr
                                  Madison, WI 53701




                                  Transworld System, Inc.
                                  500 Virginia Drive 514
                                  Fort Washington, PA 19034
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                                WESTERN DISTRICT OF WISCONSIN
                                         MADISON DIVISION
      IN RE: Wheeler, Jakob Lewis                                         CASE NO
             Wheeler, Rachel Rae
                                                                          CHAPTER 7



                             DECLARATION FOR ELECTRONIC FILING OF BANKRUPTCY
                                  PETITION, LISTS, STATEMENTS, AND SCHEDULES


PART I: DECLARATION OF PETITIONER:
As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation, partnership, or
limited liability company seeking bankruptcy relief in this case, I hereby request relief as, or on behalf of, the debtor in
accordance with the chapter of title 11, United States Code, specified in the petition to be filed electronically in this
case. I have read the information provided in the petition, lists, statements, and schedules to be filed electronically in
this case and I HEREBY DECLARE UNDER PENALTY OF PERJURY that the information provided therein, as well as the
social security information disclosed in this document, is true and correct. I understand that this Declaration is to be filed
 with the Bankruptcy Court within five (5) business days after the petition, lists, statements, and schedules have been
filed electronically. I understand that a failure to file the signed original of this Declaration will result in the dismissal of
my case.

❑        [Only include for Chapter 7 individual petitioners whose debts are primarily consumer debts] --
         I am an individual whose debts are primarily consumer debts and who has chosen to file under chapter 7. I am
         aware that I may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
         available under each chapter, and choose to proceed under chapter 7.
❑        [Only include if petitioner is a corporation, partnership or limited liability company] --
         I hereby further declare under penalty of perjury that I have been authorized to file the petition, lists,
         statements, and schedules on behalf of the debtor in this case.

Date 04/15/2019                      /s/ Jakob Lewis Wheeler                              /s/ Rachel Rae Wheeler
                           Wheeler, Jakob Lewis                                Wheeler, Rachel Rae
                           Debtor                                              Joint Debtor
                           Soc. Sec. No. 8 5 3 3                               Soc. Sec. No. 9 2 6 2




PART II: DECLARATION OF ATTORNEY:
I declare UNDER PENALTY OF PERJURY that: (1) I will give the debtor(s) a copy of all documents referenced by Part I
herein which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an individual
 with primarily consumer debts, that he or she may proceed under chapter 7, 11, 12, or 13 of title 11, United States
Code, and have explained the relief available under each such chapter.

Date 04/15/2019                      /s/ Angela R Bakke
                           Angela R Bakke
                           Attorney
